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                                   No. 24-1364
                                      In the
                          United States Court of Appeals
                              For the Third Circuit

                                SAM A. ANTAR,

                                Plaintiff-Appellant,

                                         v.
     THE BORGATA HOTEL CASINO & SPA, LLC; B ONLINE CASINO;
   BETMGM, LLC; MGM RESORTS INTERNATIONAL, INC.; ENTAIN PLC;
   JOHN DOES 1-10; MARY DOES 1-10; AND XYZ CORPORATIONS 1-10,

                              Defendants-Appellees.

  __________________________________________________________________
   On Appeal from the United States District Court for the District of New Jersey
       Civil Case No. 2:22-05785, Honorable Madeline Cox Arleo, U.S.D.J.


            BRIEF OF DEFENDANT-APPELLEE BETMGM, LLC


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              STATEMENT REGARDING ORAL ARGUMENT

      BetMGM, LLC respectfully submits that oral argument is not necessary to

resolve the straightforward issues raised on appeal. However, should the Court order

the parties to present oral argument, BetMGM, LLC reserves its rights to participate.




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                                INTRODUCTION

      This appeal concerns whether the federal courts should disturb the reasoned

policymaking of the New Jersey Legislature and the New Jersey gaming regulators,

in the area of minutely regulated gaming law. The District Court declined to do so,

and this Court should affirm.

      The New Jersey gaming industry is a creature of the state constitution. It owes

its entire existence to the New Jersey voters, who have entrusted their elected

Legislature with overseeing the conduct of gaming operators through tailored,

industry-specific regulations. To that end, the Legislature enacted the Casino

Control Act, signed by the Governor in 1977, which subjects the New Jersey gaming

industry to intense and pervasive regulation in virtually every aspect of gaming—

from licensing to the minutiae of gaming rules, and everything in between.

      One area subject to the Casino Control Act’s pervasive regulation is problem

gambling. The Casino Control Act requires gaming operators to provide patrons

with information about problem gambling resources, to fund assistance programs, to

train employees, to implement internal controls and programs to identify problem

gambling behavior, and to provide patrons with options for responsible gaming

limits. The Casino Control Act also gives patrons the ability to place themselves on

a self-exclusion list, and gaming operators must undertake detailed steps to honor a

self-exclusion request. Gaming operators who fail to abide by these problem

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gambling regulations are subject to the jurisdiction of two State regulatory

authorities: the Division of Gaming Enforcement and the Casino Control

Commission.     Those authorities may conduct fact-finding, hold hearings, and

impose steep penalties on gaming operators who violate the problem gambling

regulations.

      The State’s comprehensive scheme surrounding problem gambling controls

the issues here. Plaintiff Sam A. Antar (“Plaintiff”) alleges that he is a problem

gambler who used Defendants’ physical and online gambling services. He claims

that Defendants, Borgata Hotel Casino and Spa (“Borgata”), MGM Resorts

International (“MGM”), and BetMGM, LLC (“BetMGM”), offered him access to a

special rewards program, that he joined that program, that Defendants offered him

incentives to gamble under that program, and that he suffered excessive losses due

to his compulsive gambling. He does not allege that any of those incentives were

deceptive or misleading, and does not allege that he was on the self-exclusion list.

In fact, Plaintiff acknowledges that Defendants complied with their obligations

under the Casino Control Act to train employees in identifying problem gambling.

      Yet, in the Amended Complaint, Plaintiff asserts claims under the New Jersey

Consumer Fraud Act and for common law negligence, seeking to hold Defendants

responsible for his compulsive gambling losses. The District Court dismissed both

claims for failure to state a claim upon which relief can be granted, concluding: (1)

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that New Jersey law exempts Defendants’ alleged conduct from the Consumer Fraud

Act, and (2) that New Jersey law would not impose a common law duty of care upon

Defendants related to Plaintiff’s allegations.

      For several reasons, this Court should affirm. First, under well-settled New

Jersey law, highly regulated conduct is exempt from the Consumer Fraud Act when

liability under that statute would lead to a direct and unavoidable conflict with

another regulatory scheme. Over and over, that rule has been applied to gaming

operators. And, over and over, courts decline to impose liability when it would

conflict with technical provisions in the Casino Control Act and usurp the expertise

of the two regulatory bodies that oversee gaming conduct. That principle applies to

the Casino Control Act’s problem gambling regulations, and favors affirming the

District Court.

      Plaintiff purports to raise nine “issues” surrounding the dismissal of his

Consumer Fraud Act claim. However, they all reduce to one argument—namely,

that because the Casino Control Act is “silent” on the conduct alleged in Plaintiff’s

Amended Complaint, it does not conflict with the Consumer Fraud Act. Plaintiff is

wrong. The Casino Control Act is not “silent” on gaming operators’ responsibilities

to problem gamblers. Rather, it embodies a comprehensive scheme requiring

gaming operators to educate problem gamblers and to enforce any self-imposed

limits on their gambling. The regulators entrusted to implement the Casino Control

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Act are responsible for enforcing those regulations and imposing penalties when

they are violated. A Consumer Fraud Act claim would work at cross-purposes with

the Casino Control Act by imposing vague requirements that the Legislature and two

specialized regulatory agencies have declined to impose. The District Court’s Order

was therefore correct, and should be affirmed.

      Second, there is no basis to impose a novel duty of care for gaming operators

to bear financial liability to patrons for alleged problem gambling losses. Indeed,

there is no legislative, case law, or factual support to do so. Plaintiff attempts to

raise seven additional “issues” to support the existence of a duty—all of which

involve purported legal and factual distinctions between this case and existing case

law. But he has not provided any law or facts to justify this Court in creating a novel

duty of care, especially when no other court or regulator has seen fit to do so.

Accordingly, the District Court’s Order should be affirmed.

                         STATEMENT OF THE ISSUES

      1.     Whether the District Court correctly held that Plaintiff failed to state a

claim for relief under the New Jersey Consumer Fraud Act because liability under

that statute would create a direct and unavoidable conflict with New Jersey’s gaming

laws? (Plaintiff’s Appendix Vol. 1 (“Pa1”), pp. 11-13).




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      2.     Whether the District Court correctly held that Plaintiff failed to state a

claim for negligence because BetMGM does not owe Plaintiff a duty of care relating

to his problem gambling allegations? (Id. at pp. 13-15).

                          STATEMENT OF THE CASE

1.    The Casino Control Act.

      In 1976, the New Jersey voters “approved casino gambling by voting in favor

of an amendment to the Constitution.” Knight v. City of Margate, 86 N.J. 374, 380

(1981). Following that constitutional amendment, the New Jersey Legislature

passed the Casino Control Act, N.J.S.A. § 5:12-1 et seq. In doing so, the Legislature

acknowledged that legalized gaming in New Jersey would result in significant

benefits to the public. See, e.g., N.J.S.A. § 5:12-1(12) (declaring that that “the

economic stability of casino operations is in the public interest . . . .”). At the same

time, the Legislature determined that licensed gambling should be “strictly regulated

and controlled.” Id. § 5:12-1(13).

      The Casino Control Act reflects New Jersey’s careful application of those

public policies. Shortly after the Legislature enacted the Casino Control Act, the

New Jersey Supreme Court observed that “[t]he statutory and administrative controls

over casino operations established by the [Casino Control] Act are extraordinarily

pervasive and intensive.” Knight, 86 N.J. at 380-81. The Casino Control Act

touches on “virtually every facet of casino gambling and its potential impact upon

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the public.” Id. at 381. To administer the Casino Control Act, the Legislature

created not one, but two, regulatory agencies—the Casino Control Commission,

N.J.S.A. § 5:12-63, and the Division of Gaming Enforcement, N.J.S.A. § 5:12-76.

See Campione v. Adamar of N.J, Inc., 155 N.J. 245, 256 (1998).

      One aspect of the Casino Control Act’s “pervasive and intensive” regulation,

Knight, 86 N.J. at 381, deals with problem gambling. The Casino Control Act

regulations address the issue in overwhelming detail. See, e.g., N.J.A.C. § 13:69O-

1.2(b) (requiring Internet gaming log-on screens to “prominently” display the

message “If you or someone you know has a gambling problem and wants help, call

1-800-Gambler”); id. § 13:69O-1.2(c) (requiring log-on screens to display the time

of the previous log-on); id. § 13:69O-1.2(h) (requiring gaming software to

“prominently” display the current time and current session duration “at least every

half hour”); id. § 13:69O-1.2(j) (requiring Internet gaming operators to maintain

internal controls for “reporting of problem gamblers”); id. § 13:69O-1.2(l)(9)-(10)

(requiring Internet gaming operators to maintain policies regarding a “[p]atron’s

right to set responsible gaming limits and to self-exclude” and regarding a

“[p]atron’s right to suspend his or her account for a period of no less than 72 hours”);

id. § 13:69O-1.2(t) (prohibiting Internet gaming operators from inducing patrons to

continue wagering when the patron loses a bet or attempts to end a session); id. §

13:69O-1.2(z) (requiring an Internet gaming site to provide easy access during a

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gaming session to a dedicated “responsible gaming page” with access to resources

about problem gambling).

      Among those detailed provisions, the Casino Control Act and its regulations

provide problem gamblers with the ability to place themselves on an exclusion list.

See id. § 13:69G-2.2 (“Any person may have his or her name placed on the self-

exclusion list or Internet self-exclusion list by submitting a request in the form and

manner required by this section.”). The Division of Gaming Enforcement notifies

all gaming operators of individuals who self-exclude. See id. § 13:69G-2.3. Gaming

operators owe significant responsibilities to individuals on the self-exclusion list.

See, e.g., id. § 13.69O-1.2(i) (requiring Internet gaming operators to maintain a “key

employee” who shall “immediately notify the Division” if an individual on the self-

exclusion list attempts to gamble); id. § 13:69G-2.4 (listing gaming operators’ duties

to self-excluded patrons); id. § 13:69O-1.11(a) (requiring Internet gaming operators

to prohibit self-excluded individuals from creating an account). Notably, however,

individuals on the self-exclusion list who break their self-exclusion cannot sue

gaming operators for their losses. See, e.g., N.J.S.A. § 5:12-71.2(c); N.J.A.C. §

13:69G-2.2(d)(3)(ii)-(iv).

      What is more, Internet gaming operators—such as BetMGM—must

implement employee training programs to recognize problem gamblers, to direct



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them to information about treatment and self-exclusion programs, and to respond to

reports about problem gambling behavior. The regulation provides as follows:

             (x) All Internet gaming operators with employees who
             have direct contact with patrons via phone, e-mail,
             electronic chat, or other means, shall implement training
             for those employees, at the start of their employment and
             at regular intervals thereafter, addressing areas set forth in
             (y)1 through 3 below. If the training requirement under
             this subsection follows the standards set forth by the
             Council on Compulsive Gambling of New Jersey it shall
             be deemed sufficient.

             1. Recognizing the nature and symptoms of problem
             gambling behavior and how to assist players in obtaining
             information regarding help for a gambling problem and
             self-exclusion programs;

             2. Responding to patrons who may disclose that they have
             a gambling problem; and

             3. Responding to reports from third parties, such as family
             members, about patrons who may have a gambling
             problem.

N.J.A.C. § 13:69O-1.2(x)(1)-(3). A host of other regulations are directed to public

policy concerns surrounding problem gambling, as well. See, e.g., id. § 13:69A-

9.4(c)(5)-(6) (requiring a portion of sports wagering license fees to be allocated “for

evidence-based prevention, education, and treatment programs for compulsive

gambling . . . including the development and implementation of programs that

identify and assist problem gamblers”); id. § 13:69O-1.4(r) (requiring Internet

gaming operators to prevent gambling over a certain threshold unless the player

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acknowledges their “capability to establish responsible gaming limits or close his or

her account”); id. § 13:69O-1.9(l) (requiring Internet gaming operators to prepare

weekly reports “identifying potential problem gamblers” and to “document any

action taken”).

      Those detailed regulations reflect New Jersey’s comprehensive and reasoned

policy choices surrounding problem gambling. As explained, the Division of

Gaming Enforcement imposes strict oversight of gaming operators and has provided

them with detailed regulations about how to conduct their business in the face of

problem gambling issues. A gaming operator who fails to comply with those

regulations is subject to sanctions by the New Jersey Division of Gaming

Enforcement, which may include license revocation, civil penalties, restitution, and

injunctive relief. See, e.g., N.J.S.A. § 5:12-129.

2.    The Consumer Fraud Act.

      Against this regulatory framework, Plaintiff’s Amended Complaint attempts

to invoke the New Jersey Consumer Fraud Act, which is broad, remedial legislation.

See All the Way Towing, LLC v. Bucks Cnty. Int’l, Inc., 236 N.J. 431, 434 (2019).

Its objective is “to greatly expand protections for New Jersey consumers,” Bosland

v. Warnock Dodge, Inc., 197 N.J. 543, 555 (2009), and those protections “should be

construed liberally in favor of consumers,” Cox v. Sears Roebuck & Co., 138 N.J. 2,

15 (1994). It prohibits the following:

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             [t]he act, use or employment by any person of any
             unconscionable commercial practice, deception, fraud,
             false pretense, false promise, misrepresentation, or the
             knowing[ ] concealment, suppression, or omission of any
             material fact with intent that others rely upon such
             concealment, suppression or omission, in connection with
             the sale or advertisement of any merchandise or real estate,
             or with the subsequent performance of such person as
             aforesaid, whether or not any person has in fact been
             misled, deceived or damaged thereby.

N.J.S.A. § 56:8-2. As explained below, Plaintiff contends that a claim under the

Consumer Fraud Act should survive despite the Casino Control Act’s unique policy

concerns and its pervasive regulation of problem gambling.

3.    The Litigation.

      A.     The Original Complaint.

      Plaintiff is a convicted felon with a history of crimes stretching back decades.

(D.E. 50-1). On September 28, 2022, he initiated this action in the Superior Court

of New Jersey. He filed a Complaint against Borgata, MGM, BetMGM, and several

affiliated or non-existent entities (collectively, “Defendants”), seeking to recoup his

losses allegedly caused by “technical issues” he experienced while gambling on the

Internet. (See D.E. 1, ¶¶ 30-35). Plaintiff alleged that he reported those issues to

Defendants, and that instead of resolving the issues, Defendants offered him various

incentives to drop his complaints and continue gambling. (Id. at ¶¶ 38-44). He

claimed that those incentives amounted to “bribes” designed to take advantage of


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Plaintiff’s alleged problem gambling behavior. (Id. at ¶ 49). Plaintiff asserted

claims under the Consumer Fraud Act and the New Jersey Racketeer Influenced and

Corrupt Organization Act (“RICO”), as well as common law tort and contract

claims. (Id. at ¶¶ 53-145).

       On September 29, 2022, BetMGM removed the Complaint to the United

States District Court for the District of New Jersey. (D.E. 1). BetMGM filed a

motion to dismiss the Complaint. (D.E. 23). MGM and Borgata (the only other

defendants who were served) filed a separate motion to dismiss the Complaint. (D.E.

24). In the interim, Plaintiff was incarcerated, and both of his original lawyers

withdrew from representing him. (D.E. 36, D.E. 41). Plaintiff retained a new, third

counsel, who filed the Amended Complaint at issue in this appeal. (D.E. 42, D.E.

47).

       B.    The Amended Complaint.

       The Amended Complaint took a different approach in attempting to recoup

Plaintiff’s gambling losses. The “technical issues” and RICO conspiracies that

formed the basis for Plaintiff’s original Complaint are nowhere to be found.

       Instead, Plaintiff now simply attributes financial losses to his problem

gambling. (Plaintiff’s Appendix Vol. 2 (“Pa2”), Amended Complaint ¶ 1). He

alleges that Defendants were trained to recognize problem gambling behavior and

knew that he was a problem gambler. (Id. at ¶¶ 3, 5). According to the Amended

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Complaint, Defendants designated Plaintiff as a “NOIR” VIP member, which gave

him access to special incentives and direct contact with Defendants’ employees. (Id.

at ¶¶ 25, 27). Plaintiff alleges that after joining the NOIR VIP program, Defendants’

employees offered Plaintiff various incentives to gamble, and communicated with

him via email, telephone, and text message to encourage him to gamble. (Id. at ¶¶

5, 8, 28). The Amended Complaint recites numerous alleged communications from

Defendants’ employees regarding these incentives. (Id. at ¶¶ 93-220).

      Plaintiff does not allege that any of the incentives were deceptive or

misleading. Instead, according to Plaintiff, Defendants’ communications were

intended to exacerbate his allegedly known problem gambling behavior. As a result,

Plaintiff alleges that he placed a significant number of wagers with Defendants over

several months. (Id. at ¶¶ 29, 223-27).

      Plaintiff affirmatively alleges that Defendants complied with the Casino

Control Act’s requirements for problem gambling training—a statement with which

BetMGM agrees. (Id. at ¶ 31). Yet he contends that Defendants’ conduct caused

him to suffer damages based on his gambling behavior from June 2019 to January

2020. (Id. at ¶ 227). Based on these allegations, Plaintiff asserted claims under the

Consumer Fraud Act, as well as for common law negligence and unjust enrichment.

(Id. at ¶¶ 228-46).



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      C.     The District Court’s Dismissal Order.

      On June 9, 2023, BetMGM filed a motion to dismiss the Amended Complaint.

(D.E. 50). BetMGM argued that Plaintiff’s claims were subject to a mandatory

arbitration provision or, in the alternative, that Plaintiff’s claims failed to state a

claim on which relief can be granted. Borgata and MGM also filed a motion to

dismiss raising similar arguments (as well as jurisdictional arguments inapplicable

to BetMGM). (D.E. 51).

      In a Letter Order dated January 31, 2024, the District Court granted

Defendants’ motions and dismissed Plaintiff’s Amended Complaint. (D.E. 59; Pa1,

pp. 9-16). The District Court recognized the weight of existing law, addressed the

merits, and held that the Amended Complaint failed to state a claim for relief.

      First, applying the New Jersey Supreme Court’s test in Lemelledo v. Ben.

Mgmt. Corp. of Am., 150 N.J. 255, 264 (1997), the District Court concluded that

Plaintiff’s allegations involved highly regulated conduct that is exempt from the

Consumer Fraud Act. The District Court recognized that Plaintiff’s allegations

involved “highly technical aspects of gambling, the resolution of which requires

agency expertise.” (Pa1, p.11 (citing favorably Doug Grant, Inc. v. Greate Bay

Casino Corp., 232 F.3d 173, 188-89 (3d Cir. 2000), and Marcangelo v. Boardwalk

Regency Corp., 847 F. Supp. 1222, 1224-25 (D.N.J. 1994) involving alleged

violations of technical gambling regulations, and distinguishing Bandler v. Landry’s

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Inc., 464 N.J. Super. 311, 321 (App. Div. 2020) as relating to alleged violations not

unique to gaming)). The court identified the numerous regulations aimed to address

issues surrounding problem gambling. (Id. at pp. 11-12). The court found that one

such regulation—N.J.A.C. § 13:69O-1.2(x)—was directly on point because it

required specialized problem gambling training for casino employees “meant to

follow specific standards promulgated by the Council on Compulsive Gambling of

New Jersey.” (Id. at p.12).

      The District Court found that other regulations also dealt “specifically,

concretely, and pervasively” with problem gambling. (Id. (internal quotation marks

omitted) (citing N.J.A.C. § 13:69A-9.4(c)(5)-(6), N.J.A.C. § 13:69O-1.2(j), N.J.A.C.

§ 13:69O-1.2(z), N.J.A.C. § 13:69O-1.9, and N.J.A.C. § 13:69G-2.2)). As the court

acknowledged, imposing Consumer Fraud Act liability would “certainly work at

cross-purposes” with the Casino Control Act because a casino could be “liable for

violations of the Consumer Fraud Act despite being ‘in full compliance with the

[Casino Control Act].’” (Id. at pp. 12-13 (internal modifications and citations

omitted)). That concern was especially salient because, as the court observed,

Plaintiff acknowledged that Defendants complied with the Casino Control Act

regulations; yet he claimed they should nonetheless be liable under the Consumer

Fraud Act. (Id. at pp. 12-13 (citing Pa2, ¶ 31)).



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      Second, the District Court concluded that Defendants did not owe Plaintiff a

duty of care. (Id. at pp. 13-15). The court acknowledged that no court in New Jersey

has recognized such a duty. (Id. at p.13). And, referencing analogous case law and

the “comprehensive regulatory framework at play” (i.e., the Casino Control Act),

the court declined to do so based on Plaintiff’s allegations. (Id. at p.14). It reasoned

that two federal court cases—Taveras v. Resorts Int’l Hotel, Inc., No. 07-4555, 2008

WL 4372791 (D.N.J. Sept. 19, 2008), and this Court’s decision in Hakimoglu v.

Trump Taj Mahal Assocs., 70 F.3d 291 (3d Cir. 1995)—were “directly on point.”

Both cases, as the court explained, declined to impose a tort duty on gaming

operators despite “very similar” allegations of wrongdoing. (Id. at pp. 13-14). The

District Court also reasoned that the New Jersey Legislature’s decision not to impose

a duty, despite its “pervasiv[e]” regulation of many other aspects of the relationship

between casinos and problem gamblers, was compelling evidence against finding a

duty of care based on Plaintiff’s allegations. (Id. at p.14).

      The District Court also rejected arguments nearly identical to the arguments

Plaintiff raises on appeal.

      First, it rejected the argument that a recent regulation relating to mandatory

training in identifying problem gamblers (i.e., N.J.A.C. § 13:69O-1.2(x)) favors the

existence of a duty.



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      Second, the District Court rejected Plaintiff’s argument that Defendants’

alleged conduct is distinguishable from the conduct in Taveras and Hakimoglu. (Id.

at p.15). The District Court observed that in Taveras, for example, the allegations

involved affirmative acts—such as offering enticements and preventing the

plaintiff’s family members from removing her from a casino—and yet, that court

still concluded the defendant had no common law duty of care. (Id.)

      Third, the District Court rejected Plaintiff’s argument that changes in how

problem gambling is classified in the American Psychiatric Association’s Diagnostic

and Statistical Manual 5 (“DSM-5”) supported the existence of a duty. The court

explained that the classification of a condition in the DSM did not control the

existence of a legal duty. And it observed that in Hakimoglu, this Court rejected the

invitation to impose a duty despite alcohol dependence being classified as a

substance addiction disorder in the DSM. (Id. at p.15).

                        SUMMARY OF THE ARGUMENT

      Plaintiff’s opening brief attempts to raise seventeen “issues” for the Court’s

resolution. See Brief of Appellant, D.E. 19-1 (“Pl. Br.”), pp. 6-9. However, that

shotgun approach obfuscates the issues and fails to focus the Court on the two

straightforward questions on appeal—i.e., whether the District Court properly

dismissed Plaintiff’s Consumer Fraud Act claim, and whether the District Court



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properly dismissed Plaintiff’s negligence claim. The answer to both questions is

yes.

       First, the District Court properly dismissed Plaintiff’s Consumer Fraud Act

claim based on a conflict with the Casino Control Act. See Lemelledo, 150 N.J. at

268 (conduct is exempt from the Consumer Fraud Act when liability would lead to

a “direct and unavoidable conflict” with another regulatory scheme). The Casino

Control Act and its multitude of regulations embody New Jersey’s comprehensive

scheme to regulate gambling within its borders. See Knight, 86 N.J. at 381. That

framework specifically addresses issues surrounding problem gambling—mainly,

by requiring gaming operators to educate the public about problem gambling

resources, to adhere to an individual’s desire to self-exclude from gambling, and,

even as to non-excluded individuals, to monitor gambling activity for hallmarks of

problem gambling.

       But despite the Casino Control Act’s pervasive regulations around problem

gambling, none of those regulations even hint that the New Jersey Legislature

intended to make gaming operators liable in court directly to individuals for their

problem gambling. In fact, all the regulations point in the opposite direction. See,

e.g., N.J.A.C. § 13:69G-2.2(a), (d)(3)(ii)-(iv) (requiring self-exclusion application to

include a waiver of liability against casinos for failing to withhold gaming

privileges). The Legislature has, instead, given the Division of Gaming Enforcement

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significant tools to address a gaming operators’ violation of the problem gambling

regulations.

      This regulatory scheme reflects a policy choice—effectuated only after

careful deliberation by the elected Legislature and regulators with technical gaming

expertise. That policy has been addressed and refined over almost fifty years. It

should not be second-guessed through the expansion of Consumer Fraud Act

liability. Plaintiff’s Consumer Fraud Act claim would impose an entirely new

scheme of liability to individual players that would be inconsistent with the Division

of Gaming Enforcement’s requirements—despite decades of law declining to

impose such a scheme. Therefore, the District Court correctly held that Defendants’

alleged conduct was exempt from Consumer Fraud Act scrutiny.

      Plaintiff’s arguments to the contrary all lack merit. The first nine of his

seventeen purported appellate “issues” all reduce to one argument: that to exempt

Defendants’ conduct from the Consumer Fraud Act, there must be an affirmative

regulation under the Casino Control Act with which Consumer Fraud Act liability

would conflict; and that absent such an “actual conflict,” his Consumer Fraud Act

claim is viable. But that argument is incorrect. Technical gaming conduct (as

alleged here) is exempt from the Consumer Fraud Act because the Legislature has

occupied the topic with its all-encompassing regulations. It makes no difference, as

Plaintiff contends, that the Casino Control Act does not specifically endorse or

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prohibit the conduct Plaintiff alleges. As Lemelledo instructs, Plaintiff’s Consumer

Fraud Act claim must be dismissed because any other outcome would put gaming

operators, like Defendants, in the untenable position of carefully following a

pervasive regulatory scheme, only to find themselves engaging in unlawful conduct

under the Consumer Fraud Act.

      Second, the District Court properly dismissed Plaintiff’s negligence claim

based upon the lack of a legal duty to Plaintiff. The overwhelming weight of

authority has reached the same conclusion—a gaming operator does not owe a duty

of care to a problem gambler for their gambling losses.

      A traditional duty analysis yields the same conclusion—one, the casino-

patron relationship is unique because it involves providing patrons with

entertainment in the form of gambling; two, a casino cannot reasonably exercise care

to prevent direct financial harm to a problem gambler who insists on gambling, due

to the insurmountable subjective factors inherent in identifying problem gamblers

who have not self-excluded and in setting limits on their gambling; three, public

policy embodied in the Casino Control Act does not favor judicially created direct

financial liability between gaming operators and patrons that could conflict with the

Division of Gaming Enforcement’s requirements. Instead, gaming operators are

subject to detailed regulations about educating, identifying and, when appropriate,

excluding problem gamblers; and their failure to comply with those regulations may

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result in penalties, restitution, and other relief by the Division of Gaming

Enforcement.

      Plaintiff’s arguments to the contrary, reflected in “Issues” 10-16, fail to

overcome the weight of authority and reasoned policy choices of New Jersey

lawmakers. In fact, Plaintiff eschews any duty analysis altogether, and instead

focuses on non-existent or trivial distinctions in the case law. At bottom, he has not

carried his significant burden to explain why this Court should impose a common

law duty where none has ever existed before.

                                   ARGUMENT

1.    Standard of Review

      This Court exercises plenary review of an order granting a motion to dismiss

and must apply the same standard as the District Court. See Fowler v. UPMC

Shadyside, 578 F.3d 203, 206 (3d Cir. 2009). To do so, the Court “must accept all

of the complaint's well-pleaded facts as true,” and determine if the pleading states a

“plausible claim for relief.” Id. at 210-11 (quoting Ashcroft v. Iqbal, 556 U.S. 662

(2009)). If a pleading fails “to state a claim upon which relief can be granted,” it

must be dismissed. See FED. R. CIV. P. 12(b)(6).




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2.    Defendants’ Alleged Conduct Is Exempt from the Consumer Fraud Act.

      A.     Plaintiff’s Consumer Fraud Act Claim Conflicts with the Casino
             Control Act’s Detailed Problem Gambling Regulations.

      Plaintiff’s Consumer Fraud Act claim fails to state a claim for relief because

applying that statute to Defendants’ alleged conduct would lead to a direct and

unavoidable conflict with the Casino Control Act.

      The Consumer Fraud Act is broad, remedial legislation. To that end, the New

Jersey Supreme Court has explained that “it should ordinarily be assumed that the

[Consumer Fraud Act] applies to the covered practice.” Lemelledo, 150 N.J. at 268.

      And yet, the Consumer Fraud Act undoubtedly has limits. See Real v. Radir

Wheels, Inc., 198 N.J. 511, 522 (2009) (“Although intentionally broad, the reach of

the [Consumer Fraud Act] is not without boundaries.”). One important limit—

rooted in the separation of powers doctrine—arises when imposing Consumer Fraud

Act liability would lead to a “direct and unavoidable conflict” with another

regulatory scheme. Lemelledo, 150 N.J. at 264.

      To find a “direct and unavoidable conflict,” “the other source or sources of

regulation [must] deal specifically, concretely, and pervasively with the particular

activity, implying a legislative intent not to subject parties to multiple regulations

that, as applied, will work at cross-purposes.” Id. at 270. The principle behind this

rule is “the understanding that the Legislature does not intentionally subject

regulated entities to clearly conflicting administrative regimes.” Id. at 268.
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      When there is a direct and unavoidable conflict between the Consumer Fraud

Act and another regulatory scheme, the conduct is exempt from the Consumer Fraud

Act. Id.; see also Daaleman v. Elizabethtown Gas Co., 77 N.J. 267, 268-69 (1978)

(holding that an energy tariff that was set in allegedly fraudulent manner and passed

on to customers was exempt from Consumer Fraud Act because the tariff was subject

to pervasive regulation and expressly authorized under an administrative order).

      As a result, conduct that is governed by the Casino Control Act is exempt

from the Consumer Fraud Act. Such conduct is exempt because it is subject to

“extraordinarily pervasive and intensive” regulation “cover[ing] virtually every

facet of casino gambling and its potential impact upon the public.” Knight, 86 N.J.

at 381; see Miller v. Zoby, 250 N.J. Super. 568, 578 (App. Div. 1991) (stating, as of

1991, that “[t]he regulations now consume 15 chapters and a full volume of the

administrative code”); Statement of the Case, Section 1, supra.

      Courts have thus categorically rejected Consumer Fraud Act claims relating

to issues within the Casino Control Act’s framework. See, e.g., Doug Grant, Inc.,

232 F.3d at 189 (affirming dismissal of RICO claim because blackjack card-counting

countermeasures were lawful under Casino Control Act; affirming denial of leave to

amend to add Consumer Fraud Act claim because it would interfere with Casino

Control Act); Marcangelo, 847 F. Supp. at 1231-32 (D.N.J. 1994) (dismissing

Consumer Fraud Act claim and refusing to find implied cause of action under Casino

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Control Act for defective signage on a blackjack slot machine because the Casino

Control Commission authorized the signage, and issue of gaming signage was

entrusted to that agency); In re Borgata Winter Poker Open, A-4409-13T3, A-0231-

14T3, 2016 WL 4072219, at *8 (N.J. Super. Ct. App. Div. Aug. 1, 2016) (affirming

dismissal of Consumer Fraud Act claim because it was “subject of a detailed

regulation governing the conduct of a casino licensee, that only the Division [of

Gaming Enforcement] has the power to enforce”); cf. Miller, 250 N.J. Super. at 580

(affirming dismissal of claims relating to alleged unlawful extension of casino credit

because there is no private right of action for violations of gaming regulations and

holding otherwise would violate separation of powers doctrine).

      Plaintiff’s Consumer Fraud Act claim is no different because it relates to a

technical aspect of gaming law governed by the Casino Control Act—i.e., problem

gambling. To be clear, Plaintiff’s Consumer Fraud Act claim is not about potentially

non-technical casino advertising (e.g., “Play and Win $100”). Instead, it relates to

his problem gambling behavior—which is a nuanced and complex issue that the

Legislature has entrusted entirely to the expertise of the Casino Control Commission

and the Division of Gaming Enforcement. In fact, Plaintiff concedes there are

regulations governing problem gambling. (Pa2, ¶ 30 (“Defendants were obligated

by N.J.A.C. 13:69O- 1.2(x) to implement training for employees. . . on the

recognition of the nature and symptoms of problem gambling behavior, and how to

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assist players in obtaining information regarding help for a gambling problem.”)).

And he even concedes that BetMGM complied with those regulations. (Id. at ¶ 31

(“At all relevant times, Defendants were in full compliance with N.J.A.C. 13:69O-

1.2(x).”)).

       The existence of numerous other regulations shows that the topic of problem

gambling has been left to gaming regulators to promulgate regulations and penalize

non-compliance. The Casino Control Act, for example, provides individuals a

mechanism to self-exclude from gambling. N.J.A.C. § 13:69G-2.2(a). Gaming

operators who violate a self-excluded player’s wishes can be held responsible by the

Division of Gaming Enforcement; but they are decidedly not held liable for the

financial consequences to an individual self-excluded player. Id. § 13:69G-2.2(d).

The District Court identified numerous other regulations relating to problem

gambling, which “deal pervasively with the responsibilities of casinos as they relate

to compulsive gambling.” (Pa1, p.12).

       In light of that pervasive regulation, it is not the Court’s role to inject

Consumer Fraud Act liability into the equation.       As New Jersey courts have

cautioned, “the Legislature intended that the casino industry be strictly ‘regulated

and controlled’ [under the Casino Control Act] . . . and not by a creatively-spirited

judiciary.” Miller, 250 N.J. Super. at 578-79 (quoting N.J.S.A. § 5:12-1(13)).

Indeed, the Casino Control Act provides a detailed roadmap for how gaming

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operators must conduct business, including the numerous ways in which they must

address problem gambling behavior. See, e.g., N.J.S.A. § 5:12-71.2(b) (requiring

procedures to prevent self-excluded patrons from gambling); N.J.A.C. § 13:69O-

1.2(x)(1)-(3) (requiring Internet gaming operators to train employees with direct

patron contract in how to identify and respond to problem gambling behavior). By

contrast, the Consumer Fraud Act’s prohibition of “unconscionable commercial

practices” is intentionally vague. See, e.g., Gonzalez v. Wilshire Credit Corp., 207

N.J. 557, 576 (2011) (“[T]he [Consumer Fraud Act] does not attempt to enumerate

every prohibited practice . . . .”). Imposing Consumer Fraud Act liability would

therefore inject intolerable uncertainty into how gaming operators conduct business

by exposing them to inconsistent standards under the Casino Control Act and

Consumer Fraud Act. It would also deprive regulators of the ability to be proactive

in responding to changing conditions, by relegating problem gaming issues to case-

by-case decisions rather than thoughtful, comprehensive regulation designed to

address the problem on an industry-wide basis.

      Yet, the crux of Plaintiff’s Consumer Fraud Act claim is that Defendants

engaged in an unlawful practice by allowing him to gamble despite allegedly

knowing he was a problem gambler (even though Plaintiff is not on the self-

exclusion list). (See, e.g., Pa2, ¶ 234). As the District Court observed, the Consumer

Fraud Act and Casino Control Act “would certainly work at cross-purposes” if the

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Consumer Fraud Act imposed liability in an area that the Casino Control Act did

not. (See Pa1, p.12). Because the issue of problem gambling is within the Casino

Control Act’s exclusive purview, and is the subject of detailed regulations, New

Jersey law simply does not recognize a Consumer Fraud Act claim for the conduct

Plaintiff alleges. Plaintiff’s claim was, therefore, properly dismissed.

      B.     The District Court Correctly Applied Governing New Jersey Law and
             Held That Defendants’ Alleged Conduct Was Exempt from the
             Consumer Fraud Act.

      Plaintiff argues that the District Court either failed to apply or misapplied the

Lemelledo test. Pl. Br., pp. 25-34. All of Plaintiff’s arguments misread the District

Court’s opinion, as well as the case law, and should be rejected.

      First, Plaintiff argues that the District Court “failed to acknowledge” the

“presumption against preemption” of Consumer Fraud Act claims. Id. at p.25. That

argument is both incorrect and beside the point. It is incorrect because the District

Court acknowledged that “the [Consumer Fraud Act] applies to covered practices . .

. even in the face of other existing sources of regulation.” See Pa1, p.13; cf.

Lemelledo, 150 N.J. at 268 (“[I]t should ordinarily be assumed that the [Consumer

Fraud Act] applies to the covered practice.”). And it misses the point because the

presumption that the Consumer Fraud Act applies can be overcome when there is a

“direct and unavoidable conflict” with another source of regulation. Lemelledo, 150

N.J. at 264. Contrary to Plaintiff’s argument, the District Court did not misapply

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Lemelledo. Rather, it held that Lemelledo’s test to determine a Consumer Fraud Act

exemption was satisfied. (See Pa1, p.12).

      Second, Plaintiff argues that the District Court misapplied the Lemelledo test

because it held Defendants’ alleged conduct was exempt from the Consumer Fraud

Act without a direct and unavoidable conflict or the need for agency expertise. Pl.

Br., pp. 27-32. He cites Bandler, 464 N.J. Super. at 324, and Smerling v. Harrah’s

Entertainment, Inc., 389 N.J. Super. 181, 184-85 (App. Div. 2006), which do not

support his position. In both cases, the Appellate Division held that non-technical

casino advertising was subject to the Consumer Fraud Act. See Bandler, 464 N.J.

Super. at 315-17, 324 (finding advertisement for poker tournament with $150,000 in

prize money could be deceptive and was not exempt from the Consumer Fraud Act);

Smerling, 389 N.J. Super. at 192-93 (finding advertisement containing gambling

incentives available on a certain date could be deceptive and was not exempt from

the Consumer Fraud Act). The facts in those cases did not involve “arcane or

technical rules” of gaming, Bandler, 464 N.J. Super. at 324, so the Consumer Fraud

Act and Casino Control Act did not point in different directions.

      To be sure, there is a distinction between technical gaming conduct within the

Casino Control Act’s regulatory framework (which is exempt from Consumer Fraud

Act scrutiny) and non-gaming conduct (which is not exempt from Consumer Fraud

Act scrutiny).   Compare Doug Grant, Inc, 232 F.3d at 188 (card-counting

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countermeasures would be exempt from the Consumer Fraud Act); Marcangelo, 847

F. Supp. at 1228-29 (blackjack slot machine winning combination signage would be

exempt from common law fraud claims); and Decker v. Bally’s Grand Hotel Casino,

280 N.J. Super. 217 (App. Div. 1994) (regulations for removing progressive slot

machines from casino floors would be exempt from common law claims), with

Bandler, 464 N.J. Super. at 324 (no special gaming regulations at issue when casino

failed to pay out advertised prize), and Smerling, 389 N.J. Super. at 192-93 (no

special gaming regulations at issue when casino failed to honor birthday coupon on

the advertised date).

      Plaintiff largely acknowledges this distinction, but then misapplies it. See Pl.

Br., pp. 27-32. He argues, in effect, that the Casino Control Act must affirmatively

endorse or prohibit a casino’s conduct for it to be exempt from the Consumer Fraud

Act. See Pl. Br., pp. 28-29. That is not the law. The point, instead, is that the Casino

Control Act has pervasively regulated problem gambling, which is a nuanced and

evolving issue delegated to New Jersey’s gaming agencies. The regulations point in

one direction (e.g., requiring gaming operators to enforce a self-exclusion, collect

information designed to identify problem gamblers, and provide information and

resources to the public about problem gambling), while Plaintiff’s Consumer Fraud

Act claim would point in the opposite direction (i.e., it would impose direct financial

liability on casinos to problem gamblers for failing to prevent them from gambling).

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Cf. id. at p.29 (conceding that BetMGM complied with the Casino Control Act’s

problem gambling regulations). That is the textbook case to exempt conduct from

the Consumer Fraud Act.

      Finally, Plaintiff argues that finding a Consumer Fraud Act exemption in this

case impermissibly delegates exclusive jurisdiction over every aspect of casino

regulation to the Casino Control Commission. See Pl. Br., pp. 32-34. For several

reasons, that is wrong.    One: this case only involves a Consumer Fraud Act

exemption for Plaintiff’s problem gambling allegations—not the entire casino

industry.   The Casino Control Act’s regulations over problem gambling are

comprehensive and express the Legislature’s intent to entrust those issues to the New

Jersey gaming regulators. Two: the doctrines of primary and exclusive jurisdiction

are only in play when a defendant’s compliance with another regulatory scheme is

in dispute. See Smerling, 389 N.J. Super. at 192-93 (reversing trial court order based

on exclusive jurisdiction where false advertising allegations were not subject to

Casino Control Act regulations). Here, by contrast, Plaintiff concedes that the

Casino Control Act regulates aspects of problem gambling—and he even concedes

that Defendants complied with those regulations.1



1
 Plaintiff’s concession on this issue is not controlling of the issues in this appeal.
However, that concession underscores the reality that, not only does the Casino
Control Act comprehensively regulate gaming operators in relation to problem

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3.    BetMGM Does Not Owe Plaintiff a Duty of Care.

      A.     Considerations of Fairness and Public Policy Belie the Existence of a
             Duty from BetMGM to Plaintiff.

      Plaintiff fails to state a claim for negligence because BetMGM does not owe

Plaintiff a common law duty of care.

      The existence of a duty is a question of law. See Hopkins v. Fox & Lazo

Realtors, 132 N.J. 426, 439 (1993) (“Determining the scope of tort liability has

traditionally been the responsibility of the courts.”).      The court must balance

considerations of public policy and fairness. Id. The New Jersey Supreme Court

has identified four factors to guide the balancing analysis: “the relationship of the

parties, the nature of the attendant risk, the opportunity and ability to exercise care,

and the public interest in the proposed solution.” Id. That analysis is “very fact-

specific and principled,” and its outcome must fairly resolve the case at bar as well

as provide “sensible rules to govern future conduct.” Id.

      Those factors yield one result: no duty exists here. When it comes to problem

gambling, courts in New Jersey and around the country have repeatedly and

consistently reached that result. See Harrah’s Atl. City Op. Co. v. Dangelico, No.

A-2158-17T3, 2019 WL 1869008, at *3 (N.J. Super. Ct. App. Div. Apr. 26, 2019)

(declining to impose duty on casino to deny credit to alleged compulsive gambler);


gambling, but that Defendants have undertaken the significant steps required to
comply with those regulations.
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Taveras, 2008 WL 4372791, at *4 (holding that casino does not owe duty “to rescue

compulsive gamblers from themselves” by stopping them from gambling); cf.

Harrah’s Atl. City Op. Co., 2019 WL 1869008, at *3 (explaining that courts in other

jurisdictions have likewise “declined to impose a duty on casinos to restrict the

activities of compulsive gamblers” and citing Merrill v. Trump Indiana, Inc., 320

F.3d 729, 733 (7th Cir. 2003), Rahmani v. Resorts Int'l Hotel, Inc., 20 F. Supp. 2d

932, 937 (E.D. Va. 1998), Duff v. Harrah South Shore Corp., 125 Cal. Rptr. 259,

260-61 (Ct. App. 1975), Stevens v. MTR Gaming Grp., Inc., 788 S.E.2d 59, 66 (W.

Va. 2016), and Caesars Riverboat Casino, LLC v. Kephart, 934 N.E.2d 1120, 1123

(Ind. 2010)).2

      In this decades-long and unbroken line of cases, the same fairness and public

interest considerations repeatedly weigh against the existence of a duty.      See

Hopkins, 132 N.J. at 439. First, the relationship between a casino and its patrons

involves providing a lawful venue to enjoy the fun and entertainment of gaming.

See Harrah’s Atl. City Op. Co., 2019 WL 1869008, at *2.

      Second, a casino cannot reasonably exercise care to prevent direct financial

harm to a problem gambler who insists on gambling. Numerous aspects of problem

gambling are subjective—such as, for example, distinguishing problem gamblers

2
  Likewise, this Court has rejected the opportunity to impose a duty on casinos
towards intoxicated gamblers for their financial losses. See Hakimoglu, 70 F.3d at
294.
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from recreational gamblers and determining when gambling losses become

“excessive.” See id. at *3 (explaining difficulties of “distinguish[ing] compulsive

gamblers from recreational gamblers” and “set[ting] reasonable limits on

compulsive gamblers”); Taveras, 2008 WL 4372791, at *4 (analogizing imposing a

duty on casinos to “a duty on shopping malls and credit-card companies to identify

and exclude compulsive shoppers”). A regular gambler could claim they suffered

problem gambling losses, and a gaming operator would have no ability to refute that

assertion. That could, in turn, lead to a situation in which patrons have an incentive

to gamble excessively, knowing they could recoup their losses through a “problem

gambling” cause of action.

      Third, the public interest weighs against imposing a judicially created duty

because casinos are already subject to pervasive State regulation relating to problem

gambling. See id. (“State law regulates virtually every facet of casino gambling and

its potential impact upon the public. The regulatory scheme is both comprehensive

and minutely elaborate.”); Harrah’s Atl. City Op. Co., 2019 WL 1869008, at *3

(explaining it was “mindful that [New Jersey] has provided mechanisms for

compulsive gamblers to protect themselves from their compulsion”); Hakimoglu, 70

F.3d at 293 (explaining that “intense state regulation of casinos” was an important

factor in deciding that no duty exists).



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      New Jersey’s policy, embodied in the Casino Control Act and its regulations,

is to provide problem gamblers with resources to learn about, and obtain treatment

for, problem gambling. The law also provides problem gamblers with a mechanism

to self-exclude from gaming. Gaming operators, for their part, must implement

training for their employees in identifying problem gambling, and must implement

reasonable policies to prevent self-excluded players from gambling. But New Jersey

law does not recognize a direct financial claim between a problem gambler and a

gaming operator for gambling losses. A gaming operator’s immunity from financial

liability to a patron who gambles despite self-excluding under N.J.A.C. § 13:69G-

2.2 underscores that tort principles play no part in determining liability for a problem

gambler’s losses.

      Imposing a duty would undermine New Jersey’s public policy in other ways,

as well. One: doing so would usurp the Legislature’s decision not to impose a duty

for direct financial liability despite decades of gaming regulation—instead, it has

imposed significant duties on gaming operators while entrusting enforcement to the

regulators. Cf. Hakimoglu v. Trump Taj Mahal Assocs., 876 F. Supp. 625, 637

(D.N.J. 1994), aff’d, 70 F.3d at 291 (3d Cir. 1995) (“It seems rather remarkable that

the regulating authorities would be so silent for so long if they believed casinos

should have such a duty.”).



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      Two: the financial consequences to casinos could be disastrous. See Taveras,

2008 WL 4372791, at *4 (explaining that imposing such a duty would “have no

limit” and would “sacrifice common sense”). As explained, imposing a duty would

create “difficult problems of proof and causation,” see Hakimoglu, 70 F.3d at 294,

such as distinguishing “regular” losses from “excessive” losses, (which, unlike

issues such as blood-to-alcohol concentrations, is inherently subjective). Moreover,

all players have the same opportunity to win or lose, making it impossible to

calculate losses “due to problem gambling.” As a result, imposing a duty means that

gaming operators would face uncertain liabilities, potentially years after the fact,

which they would be unable to refute. See id. (noting that dram shop claim for

gambling losses “could be fabricated with greater ease than a dram-shop action

involving personal injury”). Moreover, imposing a vague tort duty would undermine

the Casino Control Act’s sophisticated regulatory scheme, in which gaming

operators are subject to strict guidelines and are subject to regulatory penalties if

they fail to comply.

      The District Court’s Letter Order embodies these considerations and properly

held that BetMGM does not owe Plaintiff a common law duty of care. (Pa1, pp. 13-

14). This Court should affirm.




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      B.     This Court Should Not Impose a Novel Duty of Care on Casinos.

      Plaintiff nonetheless asks this Court to upend decades of case law and

regulation to impose a duty of care where none has ever existed, and that the

legislature has never required. It should decline to do so.

      Principally, Plaintiff fails to show any reason why the Court should take that

leap of faith. He does not meaningfully analyze any of the New Jersey Supreme

Court’s factors to determine the existence of a duty. See generally Pl. Br., pp. 34-

41. Nor does he cite any case law (from New Jersey or elsewhere) to support the

existence of the duty he seeks to impose here. His argument is, at best, a tautological

one. See id. at p.40 (arguing that a tort duty “would merely follow the same standard

for tort duty applied to any other New Jersey business under its negligence laws.”).

That is not enough to create a duty of care that the law has never recognized.

      Instead, Plaintiff simply challenges the continued vitality of Hakimoglu and

Taveras, hoping this Court will reach a different result. See id. at pp. 35-41. First,

Plaintiff argues that Hakimoglu is not controlling because it was a dram shop liability

case. See id. at p.36. To be sure, this is not a dram shop case. However, other courts

considering the duties between a casino and a problem gambler have drawn that

analogy. See, e.g., Merrill, 320 F.3d at 732-33 (addressing “whether casinos can be

sued in tort when they fail to evict a gambler who requests his own exclusion” and

concluding “[t]he closest analogy . . . is that of a tavern’s liability to exercise

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reasonable care to protect its patrons”). Plaintiff even alleges that alcohol use

disorders and gambling disorders have much in common.             See Pl. Br., p.40.

Ultimately, what matters is that Hakimoglu identified many of the same concerns

that reject finding a duty here—namely, the pervasive regulation over every aspect

of casinos, and the “difficult problems of proof and causation” that would upset those

regulations. Hakimoglu, 70 F.3d at 294.

      Second, Plaintiff argues that Hakimoglu is no longer good law because

Bandler and Smerling allowed parties to assert common law claims against a casino.

Pl. Br., pp. 36-37. But those cases merely determined that some common law claims

may be pled against a casino on some facts. They did not address, much less decide,

whether a gaming operator owes a duty to stop problem gamblers from gambling.

And contrary to Plaintiff’s argument, New Jersey case law after Hakimoglu has

reinforced, not undermined, its reasoning as applied to compulsive gambling. See,

e.g., Harrah’s Atl. City Op. Co., 2019 WL 1869008, at **2-3 (finding no duty to

deny credit to compulsive gambler).

      Third, Plaintiff attempts to distinguish Taveras because it purportedly

involved a “passive casino” that failed to stop a problem gambler from gambling.

Pl. Br., p.37. That is not so. The plaintiff in Taveras alleged that the casino fueled

her gambling addiction by enticing her with promotions and free “limousine rides,

hotel rooms, food, entertainment, and gift coupons.” Taveras, 2008 WL 4372791,

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at *2. She also alleged that the casino stopped her family members from removing

her from the casino to prevent her from gambling. Id. at *1. Those allegations can

hardly be characterized as “passive,” as Plaintiff contends. The District Court found

that the allegations in Taveras were “no different” from the “affirmative

enticements” Plaintiff alleged in the Amended Complaint and correctly concluded

there was no duty of care. (Pa1, p.15).

      Fourth, Plaintiff contends that N.J.A.C. § 13:69O-1.2(x), which was enacted

after Taveras, means that casinos can now identify problem gamblers and foresee

the risk of self-harm problem gamblers may inflict. Pl. Br., p.38. But N.J.A.C. §

13:69O-1.2(x) does not change the calculus. That regulation requires casinos to train

certain employees to recognize problem gamblers and direct them to resources about

problem    gambling.       Gaming     operators—including      BetMGM—take         this

responsibility very seriously and implement significant internal controls relating to

problem gambling. But the regulation does not require gaming operators to pay a

player for losses incurred due to alleged problem gambling.

      Fifth, Plaintiff argues, in effect, that “times have changed” since Taveras

because problem gambling was classified as a “Substance-Related and Addictive

Disorder” in the DSM-V. See Pl. Br., pp. 38-39. That classification has nothing to

do with the existence of a legal duty of care, and Plaintiff cites no authority for why

it should. To the contrary—despite that classification, the New Jersey Legislature

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has not imposed a duty of care on casinos to problem gamblers. And as the District

Court observed, although such a classification would place problem gambling

alongside alcohol disorders, see id. at p.40, this Court in Hakimoglu “refused to

extend common law dram shop liability . . . to casino gambling losses.” (Pa1, p.15).

                                 CONCLUSION

      The District Court correctly applied New Jersey law and dismissed Plaintiff’s

Consumer Fraud Act and common law claims.             Plaintiff’s alleged facts and

arguments do not provide any basis to change the existing and carefully constructed

precedent. Based on the foregoing, the District Court’s Order should be affirmed.

Dated: July 25, 2024                  Respectfully submitted,

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                 CERTIFICATION OF BAR MEMBERSHIP

      I, Stephen M. Orlofsky, Esq., certify that I am a member in good standing of

the Bar of the United States Court of Appeals for the Third Circuit. Daniel E.

Rhynhart, Esq., Lauren E. O’Donnell, Esq., and Michael R. Darbee, Esq., are also

members in good standing of the Bar of the United States Court of Appeals for the

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      I, Stephen M. Orlofsky, Esq., certify that Defendant-Appellee BetMGM,

LLC’s Brief complies with the type-volume limitation of FED. R. APP. P. 32(a)(7)(B),

as this brief contains 8,515 words, according to the word processor word count,

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      I, Stephen M. Orlofsky, Esq., certify that Defendant-Appellee BetMGM,

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                        CERTIFICATION OF SERVICE

      I, Stephen M. Orlofsky, Esq., certify that on July 25, 2024, I caused a copy of

Defendant-Appellee BetMGM, LLC’s Brief to be filed with the Clerk's Office for

the United States Court of Appeals for the Third Circuit and served on all counsel of

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      I further certify that on July 25, 2024, I caused seven (7) copies of Defendant-

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